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                               UNITED STATES JUDICIAL PANEL
                                            on
                                MULTIDISTRICT LITIGATION



 IN RE: CONVERGENT TELEPHONE
 CONSUMER PROTECTION ACT (TCPA)
 LITIGATION                                                                             MDL No. 2478



                                   (SEE ATTACHED SCHEDULE)



                        CONDITIONAL TRANSFER ORDER (CTO í20)



 On October 8, 2013, the Panel transferred 6 civil action(s) to the United States District Court for the
 District of Connecticut for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
 1407. See 981 F.Supp.2d 1385 (J.P.M.L. 2013). Since that time, 27 additional action(s) have been
 transferred to the District of Connecticut. With the consent of that court, all such actions have been
 assigned to the Honorable Alvin W Thompson.

 It appears that the action(s) on this conditional transfer order involve questions of fact that are
 common to the actions previously transferred to the District of Connecticut and assigned to Judge
 Thompson.

 Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
 Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
 District of Connecticut for the reasons stated in the order of October 8, 2013, and, with the consent
 of that court, assigned to the Honorable Alvin W Thompson.

 This order does not become effective until it is filed in the Office of the Clerk of the United States
 District Court for the District of Connecticut. The transmittal of this order to said Clerk shall be
 stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
 Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                       FOR THE PANEL:



                                                       Jeffery N. Lüthi
                                                       Clerk of the Panel
        May 18, 2016
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 IN RE: CONVERGENT TELEPHONE
 CONSUMER PROTECTION ACT (TCPA)
 LITIGATION                                                                     MDL No. 2478



                    SCHEDULE CTOí20 í TAGíALONG ACTIONS



   DIST      DIV.      C.A.NO.        CASE CAPTION


 FLORIDA MIDDLE

   FLM         3       16í00252       Worley et al v. Convergent Outsourcing, Inc.

 MICHIGAN EASTERN

    MIE        2       16í11284       McCall et al v. Convergent Outsourcing, Inc.

 NEW JERSEY

    NJ         3       16í01714       FEILER v. CONVERGENT OUTSOURCING, INC.

                              I hereby attest and certify that this is a copy
                              of a document which was electronically
                              filed with the United States District Court for
                              the District of Connecticut

                                              5/18/2016
                              Date Filed:__________________

                              Robin D. Tabora, Clerk

                              By:________________________
                                                       



                                 Deputy Clerk
